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UNITED STATES DISTRICT court *® MAY 2320: x
EASTERN DISTRICT OF NEW YORK

LONG ISLAND OFFICE a

UNITED STATES OF AMERICA VERDICT FORM

- against - Cr. No. 08-655 (JS)

CHRISTIAN GEROLD TARANTINO,

Defendant.

COUNT ONE
(Murder of Julius Baumgardt) —

How do you find the defendant as to Count One?

Guilty A Not Guilty

COUNT TWO
(Murder of Louis Dorval)

How do you find the defendant as to Count Two?

Guilty ; Not Guilty

COUNT THREE
(Conspiracy to Murder Vincent Gargiulo)

How do you find the defendant as to Count Three?

Guilty _s—“(‘és ottly «GG ty
Case 2:08-cr-00655-JS Document 261 _ Filed 05/23/11 Page 2 of 26 PagelD #: 1086

COUNT FOUR
(Murder of Vincent Gargiulo)

How do you find the defendant as to Count Four?

Guilty Not Guilty

Dated: Central Islip, New York

May a3, 2011

Jury Foreperson
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Jurors will be asked if that is their verdict on Counts
for which there is a unanimous verdict.

Jurors will not be asked about Counts for which the
jury has not been able to render a unanimous verdict.

As I told you in my original instructions, this case is
an important one to the government. It is equaily
important to the defendant. It is desirable if a
verdict can be reached, but your verdict must reflect
the conscientious judgment of each juror, and under no
circumstance must any juror yield his conscientious
judgment. You have deliberated only 8 days in a case
that took more than five weeks to try.

It is normal for jurors to have differences; this is
quite common. Frequently, jurors, after extended
discussions, may find that a point of view which
originally represented a fair and considered judgment
might well yield upon the basis of argument and upon
the facts and the evidence. However, and I emphasize
this, no juror must vote for any verdict unless after
full discussion and consideration of the issues and
exchange of views, it does represent his or her
considered judgment.

Further consideration may indicate that a change in
eriginal attitude is fully justified upon the law and
all of the facts. I do want to read to you a statement
which is contained in a Supreme Court opinion which is
well-known to the bench and bar, and it is this:

That although a verdict must be the verdict of each
individual juror and not a mere acquiescence in the
conclusion of his fellows, yet they should examine the
question submitted with candor and with a proper regard
and deference to the opinions of each other; that is
with their duty to decide the case if they could
conscientiously do so; that they should listen, with a
disposition to be convinced, to each other's arguments;
that if the much larger number were for a conviction, a
dissenting juror should consider whether his doubt was
a reasonable one which made no impression on the minds
of so many men, equally honest, equally intelligent
with himself. If upon the other hand the majority was
for acquittal, the minority ought to ask themselves
whether they might not reasonably doubt the correctness
of a judgment which was not concurred in by the
majority.

I do not mean to suggest that a position is necessarily
correct merely because a greater number of jurors agree
with it. Those in the majority should also consider all
reasonable arguments and opinions of those in the
minority.

You are reminded also that the prosecution bears the
burden of proving each element of the offense beyond a
reasonable doubt.

Do not ever change your mind just because the other
jurors see things differently, or just to get the case
over with. As I told you before, in the end, your vote
must be exactly that--your vote. As important as it is
for you to reach unanimous agreement, it is just as
important that you do so honestly and in good
conscience. What I have just said is not meant to rush
or pressure you into agreeing on a verdict. Take as
much time as you need to discuss things. There is no
hurry.
Case 2:08-cr-00655-JS Document 261 _ Filed 05/23/11 Page 8 of 26 PagelD #: 1092

As to the Counts that you have been unable to reach a
unanimous verdict, I request that you continue your
deliberations, and if you are unable to reach a verdict
on those counts then the Court will accept a partial
verdict on the Counts that you have reached a unanimous
verdict on.
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